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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA         :
                                 :
     v.                          :       Crim. No. 3:99cr264(AHN)
                                 :
JOHN FOSTER                      :
                                 :


    RULING ON SENTENCING ENHANCEMENT PURSUANT 21 U.S.C. § 841

     The defendant John Foster ("Foster") challenges the

enhancement of his sentence under 21 U.S.C. § 841(b)(1)(A).             At

the resentencing hearing on September 19, 2006, the court orally

ruled that the enhancement should be applied and sentenced Foster

to a 20-year mandatory minimum term of incarceration.            This

opinion sets forth the court’s reasoning for the § 841

enhancement.1

                                 FACTS

     On February 3, 2000, Foster and others were indicted for

conspiracy to possess with intent to distribute and to distribute

heroin and cocaine base in violation of 21 U.S.C. §§ 841(a)(1)

and 846.

     On November 7, 2000, the day before jury selection, the



     1
        Following the Second Circuit’s decision in United States
v. Crosby, 397 F.3d 103 (2d Cir. 2005), Foster was resentenced
after this court decided that it would have imposed a materially
different sentence under an advisory sentencing guidelines
regime. At Foster’s resentencing, the court ultimately decided
to impose a non-guidelines sentence. Because the record from
Foster’s resentencing hearing and the judgment issued therefrom
fully describe the court’s reasons for imposing a non-guidelines
sentence, the court does not repeat those reasons here.
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government filed an information pursuant to 21 U.S.C.

§ 851(a)(1).   The information notified Foster that, because of

his prior narcotics conviction in Connecticut Superior Court for

the sale of narcotics in violation of Conn. Gen. Stat. § 21a-

277(a), the government would seek to enhance Foster’s sentence if

he was convicted.   By virtue of this potential enhancement,

Foster faced a statutory mandatory minimum sentence of 20 years.

See 21 U.S.C. § 841(b)(1)(A).

     On December 4, 2000, a jury convicted Foster.           On June 18,

2001, the court sentenced Foster to a period of incarceration of

324 months, or 27 years.

     On appeal, Foster argued that his sentence was imposed in

violation of Apprendi v. New Jersey, 530 U.S. 466 (2000).

Although the Second Circuit upheld his conviction, it withheld

its mandate until the Supreme Court’s resolution of the issues

presented in United States v. Booker, 543 U.S. 220 (2005).             See

United States v. Lewis, Nos. 01-1215, 01-1240, 01-1242, 01-1374,

01-1577, 2004 WL 2242588, at *1 (2d Cir. Oct. 5, 2004).

     After the decisions were issued in Booker and in United

States v. Crosby, 397 F.3d 103 (2d Cir. 2005), the Second Circuit

remanded Foster’s case for the limited purpose of determining

whether this court "would have imposed a materially different

sentence, under the circumstances existing at the time of the

original sentence, if the judge had discharged his or her


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obligations under the post-Booker/Fanfan regime and counsel had

availed themselves of their new opportunities to present relevant

considerations . . . ."       Crosby, 397 F.3d at 117.        At Foster’s

request, this court reviewed the sentence it had imposed on June

18, 2001 and determined that it would have imposed a materially

different sentence if the sentencing guidelines had been

advisory.       Accordingly, a resentencing hearing was scheduled.

       Prior to the resentencing hearing, the government moved for

an enhanced sentence.2      Relying on a § 851 information detailing

Foster’s prior narcotics conviction, the government argued that

Foster was subject to the 20-year mandatory minimum sentence

under § 841, rather than the 10-year mandatory minimum sentence

that applies to defendants with no prior narcotics conviction.

See 21 U.S.C. § 841(b)(1)(A) (stating that a person convicted

under this section "shall be sentenced to a term of imprisonment

which may not be less than 10 years . . . ;" but "[i]f any person

commits such a violation after a prior conviction for a felony

drug offense has become final, such person shall be sentenced to

a term of imprisonment which may not be less than 20 years . .

.").       After the government filed the § 851 information, Foster

challenged the constitutional validity of the guilty plea


       2
        The § 841 enhancement was not specifically at issue
during Foster’s original sentencing because under the then-
mandatory sentencing guidelines regime, Foster faced a sentence
well in excess of the 20-year mandatory minimum required by
§ 841.

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supporting the prior conviction cited in the § 851 information.

At the resententing hearing, the court found that the prior

conviction was valid and, as a result, Foster faced a mandatory

minimum sentence of 20 years.

                                 DISCUSSION

      As grounds for the sentence enhancement under § 841, the

government relies on Foster’s prior conviction under Conn. Gen.

Stat. § 21a-277(a).      Foster claims that this prior conviction is

constitutionally invalid because his guilty plea supporting the

conviction was not intelligent and voluntary.           Citing the

transcript of the plea hearing held on March 19, 1999 in

Connecticut Superior Court in Bridgeport, Foster argues that "the

state court did not properly ascertain (1) that he understood the

nature of the charge against him, or (2) that there was a factual

basis for his guilty plea to the sale of narcotics charge . . .

."   Neither of Foster’s arguments is sufficient to sustain his

burden of proving that his prior conviction is invalid.              See 21

U.S.C. § 851(a), (c) (providing that a defendant must prove by a

preponderance of the evidence that the prior conviction relied on

in the § 851 information is constitutionally invalid).

      The standard for determining the constitutionality of a

guilty plea is the "totality of the relevant circumstances."

Hanson v. Phillips, 442 F.3d 789, 798 (2d Cir. 2006) (citing

Willbright v. Smith, 745 F.2d 779, 780 (2d Cir. 1984) (per


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curiam) and Brady v. United States, 397 U.S. 742, 749 (1970)).               A

plea cannot be "intelligent" unless, "at the very least, the

defendant understands that he has the right to a trial to

determine whether he is guilty, and that, by pleading guilty, he

gives up that right and consents to the entry of a guilty

verdict, upon which he may be sentenced."         Id. at 799.      Further,

a plea cannot be "voluntary" unless "the defendant understands he

is under no compulsion to plead guilty and makes the decision of

his own free will."    Id.    The record must affirmatively

demonstrate that the defendant entered his plea intelligently and

voluntarily.    See Brady, 397 U.S. at 747 n.4.        Based on the

transcript of Foster’s state court plea allocution, the court

concludes that Foster’s plea was intelligent and voluntary.

       I.   Foster’s Understanding of the Nature of the Nactotics
            Charge

       The transcript demonstrates that the superior court judge

adequately determined that Foster understood the charge against

him.    The relevant portion of the transcript states:

            [PROSECUTOR]: And with regard to docket
            number CR97-0133012, the State’s filing a
            substitute information. To the substitute
            information of possession of narcotics with
            intent to sell on September 30th, 1997 in
            violation of 21a-277a, how do you plea sir;
            guilty or not guilty?

            MR. FOSTER:      Guilty.

            . . . .



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          THE COURT:      Have you had an opportunity to
          fully   discuss   these   matters  with   your
          attorney?

          MR. FOSTER:       Yes.

          THE COURT:     Has he explained to you the
          elements, that is what the State would have to
          prove   to  convict   you   of  violation   of
          probation, possession of narcotics with intent
          to sell, weapon in a motor vehicle, and
          failure to appear in the 1st degree? Did he
          go over that with you?

          MR. FOSTER:       Yes, sir.

(Plea Hr’g Tr. at 2:17-22, 4:17-26, in State v. Foster, No. 97-

133012 (Conn. Super. Ct. filed Mar. 19, 1999), attach. as Ex. 2

to Def.’s Resp. to Gov.’s 851 Filing [dkt. # 2074]).

     Contrary to Foster’s claims, due process is not offended

because the state court did not describe the elements of the

charge, and instead ascertained whether Foster’s attorney had

explained to him the nature of the charge.        While a defendant’s

plea "would indeed be invalid if he had not been aware of the

nature of the charges against him, including the elements of the

[crimes] to which he pleaded guilty,"       Bradshaw v. Stumpf, 545

U.S. 175, 182-83 (2005), the Constitution does not require the

court to explain to the defendant the elements of a charged

crime.   "Rather, the constitutional prerequisites of a valid plea

may be satisfied where the record accurately reflects that the

nature of the charge and the elements of the crime were explained

to the defendant by his own, competent counsel."             Id. at 183.


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"Where a defendant is represented by competent counsel, the court

usually may rely on that counsel’s assurance that the defendant

has been properly informed of the nature and elements of the

charge to which he is pleading guilty."        Id.

     Further, under Connecticut law, a trial court is not

required to list every element of a charged offense if it has

assurances that a defendant has been advised by counsel as to the

nature of the charge.       See State v. Johnson, 253 Conn. 1, 38-40

(2000) (finding that a plea was intelligent and voluntary where

defendant indicated that he had reviewed the charge with his

attorney); Oppel v. Lopes, 200 Conn. 553, 560-61 (1986)

(concluding that defendant’s plea was valid because the record

demonstrated that defendant’s counsel adequately explained the

intent element of the charged offense), rev’d Oppel v. Lopes, 677

F. Supp. 86, 87 (D. Conn. 1987), rev’d Oppel v. Meachum, 851 F.2d

34, 38 (2d Cir. 1988) (reviewing Connecticut Supreme Court’s

decision by way of § 2254 petition and stating that based on the

record and the lack of "evidence indicating that [the movant] was

unaware of the elements of the crime of murder at the time he

tendered his plea, we conclude that it is appropriate to presume

that [the movant’s] attorney informed him of the elements of the

crime prior to the time he tendered his plea"), cert. denied 488

U.S. 911 (1988); State v. Monk, 88 Conn. App. Ct. 543, 552 (2005)

("It is well established that a trial court may properly rely on


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the responses of the defendant at the time she responded to the

trial court’s plea canvass.") (internal quotations omitted).                 As

the Connecticut Supreme Court has stated:

          The trial court’s failure to explicate an
          element renders the plea invalid only where
          the omitted element is a critical one . . .
          and only where it is not appropriate to
          presume that defense counsel has explained the
          nature of the offense in sufficient detail to
          give the accused notice of what he is being
          asked to admit.

Johnson, 253 Conn. at 38 (internal quotations omitted).

     Moreover, despite Foster’s argument, the Second Circuit’s

recent decision in Hanson v. Phillips, 442 F.3d 789 (2d Cir.

2006), does not compel the court to find that Foster’s plea was

invalid because the state court judge’s inquiry was phrased as a

compound question or even because the inquiry was phrased as two

successive questions.       In Hanson, the Second Circuit, reviewing

the denial of a § 2254 petition, found the petitioner’s state

court guilty plea invalid because the trial court, among other

errors, "ran together a series of confusing questions," and the

defendant interspersed "yes" responses in such a way that the

Second Circuit could not clearly determine which question the

defendant’s affirmative response addressed.          See id. at 790, 799.

The trial court, for example, asked the defendant whether he

intended to plead guilty to the charge, but before the defendant

could respond, the court asked a separate question about the

sentence, to which the defendant responded, "Yes."            See id. at

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791.    Because the defendant’s plea allocution was elicited in

such a confusing manner, the Second Circuit found that the

defendant’s response failed to provide any reasonable assurance

that the defendant intelligently and voluntarily pleaded guilty.

See id. at 800.

       The exchange between Foster and the state court does not

suffer from the infirmities addressed in Hanson.             In Foster’s

case, the relevant exchange began where the state prosecutor

asked Foster how he wished to plead to the narcotics charge.

Foster responded, "Guilty."     Later in the proceeding, the court

asked Foster whether his counsel had explained the elements of

the four charges, including the sale of narcotics charge.              Before

Foster could answer that question, the court asked, "Did he go

over that with you?"    Unlike Hanson, where the judge asked two

different questions in succession, the state court’s second

question to Foster merely reiterated and summarized the first

question.    When the state court judge asked Foster if counsel

went over "that" with him, the judge was referring to the

elements of the charges, i.e., the "violation of probation,

possession of narcotics with intent to sell, weapon in a motor

vehicle, and failure to appear in the 1st degree."             Foster’s

response, "Yes, sir," indicated to the state court (and this

court) that counsel had reviewed the elements of the four charges

with him.    Moreover, the record shows that Foster’s counsel did


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not dispute or otherwise qualify Foster’s response, which further

indicates that, before the plea hearing, Foster and he discussed

the elements that the state would have to prove to convict Foster

on the narcotics charge.     The exchange between the state court

judge and Foster provided the judge with sufficient assurance

that Foster had notice of the charges against him.           See Panuccio

v. Kelly, 927 F.2d 106, 111 (2d Cir. 1991) ("The trial court

could also appropriately assume that Panuccio understood the

charges against him since he was represented by counsel who had

presumably explained the charges to him.").         Foster has not

demonstrated any other circumstances that undermine what the

transcript demonstrates – that Foster voluntarily pleaded guilty

to the narcotics charge after discussing the nature of the charge

with his counsel prior to the plea allocution.          See 21 U.S.C. §

851(c)(2).

     II.   Factual Basis Underlying Foster’s Guilty Plea

     There is similarly no merit to Foster’s claim that his plea

was invalid because the state court failed to test the factual

basis for the sale of narcotics charge.

     According to the transcript, the following colloquy took

place regarding the facts surrounding that charge:




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          [PROSECUTOR]: He failed to appear on
          December 9th, 1997, when he was supposed to
          be considering the offer of five, two, three
          on the underlying possession of narcotics
          with intent to sell, which stemmed from an
          incident where he was observed throwing down
          some drugs which the officers were able to
          retrieve and field tested positive back on
          September 30th, 1997.

          . . . .

          THE COURT: Now with regard to the narcotics
          and failure to appear, you heard the
          prosecutor recite the facts, is that
          basically what happened? You were in
          possession or – custody – is this an Alford
          plea?

          [FOSTER’S COUNSEL]: I thought we waived the
          reading of the facts?

          THE COURT: Oh, no, no. But I’ve got to ask
          him. You heard the facts on that particular
          case; is that basically what happened? You
          didn’t show up and you had some narcotics in
          which you were in possession, in custody, or
          control of a sufficient amount to indicate
          possession with intent to sell; was that
          basically it? You’ve got to say yes or no?

          MR. FOSTER:       Yes, sir.

Plea Hr’g Tr. at 3:1-7, 6:21-27, 7:1-7.

     Foster argues that aside from mixing questions about the

facts underlying two different charges, the colloquy between the

state court judge and Foster failed to inform him of important

facts supporting the narcotics charge, such as the type and

quantity of narcotics that Foster was charged with possessing.

Foster also claims that the state court judge created the

problems described in Hanson because the judge did not elicit a

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definitive response from Foster regarding whether he agreed with

the prosecutor’s recitation of the facts.         The court agrees that

the record could be clearer in this regard, but concludes that

this does not invalidate Foster’s guilty plea.

     After the state court judge asked whether Foster was

entering an Alford plea,3 Foster’s counsel responded that he

believed Foster had waived the reading of the facts related to

the narcotics and failure to appear charges.          The judge, however,

insisted on eliciting for the record Foster’s agreement with the

facts as described by the prosecutor.       Thus, in successive

questions, the judge asked Foster if he agreed with the

prosecutor’s recitation of the facts supporting those charges.

After prompting by the judge about whether the prosecutor’s

recitation of the facts was "basically it," Foster stated, "Yes,"

thereby indicating his agreement with the prosecutor’s summation

of those underlying facts.      However, because the prosecutor’s

recitation of the facts did not identify the type and quantity of

narcotics involved and the court did not inquire further, Foster

was never canvassed about those facts.

     But the failure to canvass Foster about the type and

quantity of narcotics does not, by itself, invalidate Foster’s



     3
        A subsequent portion of the transcript indicates that
Foster entered an Alford plea on the weapon in a motor vehicle
and violation of probation, but not the narcotics charge. See
Plea Hr’g Tr. at 7:8-20.

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plea.    As the Second Circuit has stated, a state court’s failure

to question a defendant about the factual basis for his plea does

not constitute a due process violation because a "factual basis

inquiry . . . is merely one way of satisfying the constitutional

requirement that a plea be voluntary and intelligent."

Willbright v. Smith, 745 F.2d 779, 781 (2d Cir. 1984) (per

curiam).    It is Rule 11, not due process, "that requires federal

courts to conduct a factual inquiry before accepting a guilty

plea."    Id. at 780 (citing McCarthy v. United States, 394 U.S.

459, 465 (1969)).    As state courts are not bound by Rule 11, they

do not have to "engage in any particular interrogatory

‘catechism.’" Hanson, 942 F.3d at 798.        Indeed, it is well

settled that Connecticut state courts "are under no

constitutionally imposed duty to establish a factual basis for a

guilty plea prior to its acceptance unless the judge is put on

notice that there may be some need for such an inquiry."             State

v. Greene, 274 Conn. 134, 149 (2005).

     Having already determined that Foster was aware of the

charge against him, the court finds no reason to doubt that under

the totality of the circumstances Foster was afforded due process

simply because the state court did not canvass Foster as to the

quantity and type of narcotics underlying the charge to which he

pled guilty.    Moreover, while in open court and represented by

competent counsel, Foster denied that anyone threatened him to


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plead guilty and affirmed that he pleaded guilty freely and

voluntarily.   (Plea Hr’g Tr. at 5:24-27, 6:1-20).             As the Supreme

Court has made clear, "[s]olemn declarations in open court carry

a strong presumption of verity."       Blackledge v. Allison, 431 U.S.

63, 74 (1977); see Willbright, 745 F.2d at 780-81.

     Further, Foster’s claim of invalidity is undermined by the

circumstances in which it is asserted.         Rather than challenge the

validity of his plea and conviction on appeal or in a habeas

petition, Foster waited seven years and challenges it for the

first time in response to the government’s efforts to enhance his

sentence in this case.       See Willbright, 745 F.2d at 781 (finding

a guilty plea to be intelligent and voluntary because, among

other things, the defendant did not assert that he was not guilty

until four years after he pleaded guilty, and only then, in a

resentencing proceeding).       Indeed, Foster could have moved to

withdraw his guilty plea in state court, even after it was

accepted, for the exact reasons he now asserts.               See Conn. Super.

Ct. R. § 39-27 (permitting the state court to revoke a

defendant’s plea agreement after its acceptance for a number of

reasons, including "[t]he plea . . . was entered without

knowledge of the nature of the charge" or "[t]here was no factual

basis for the plea").       Considering all of these circumstances,

the court finds that Foster was afforded due process and that any

asserted inadequacy in the factual basis inquiry supporting the


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sale of narcotics charge does not invalidate his guilty plea to

that charge.

                               CONCLUSION

     For the foregoing reasons, the court finds that Foster’s

plea was intelligent and voluntary and that he is subject to a

twenty year mandatory minimum sentence under 21 U.S.C. §

841(b)(1)(A).

     SO ORDERED this 14th day of November, 2006 at Bridgeport,

Connecticut.

                                          /s/
                                  Alan H. Nevas
                            United States District Judge




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